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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.


  JOSE MANUEL ROSALES RODRIQUEZ;

  A 077 782 651

                       Petitioner,

  V.

  MUKASEY, MICHAEL Acting Attorney General of the United States; KEVIN D.

  ROONEY, Dir., EOIR, Immigration Court, MICHAEL CHERTOFF, Secretary, DHS;

  JEFF HAMILTON, ICE Detention Supervisor

                       Respondents.


            PETITIONER’S MEMORANDUM OF LAW IN SUPPORT OF
               PETITION FOR WRIT OF HABEAS CORPUS AND
   COMPLAINT FOR TEMPORARY RESTRAINING ORDER AND INJUNCTIVE RELIEF

         PETITIONER, by and through their undersigned counsel, hereby respectfully

  petition this Honorable Court for a writ of habeas corpus to remedy this unlawful

  detention, and to enjoin Respondents from continuing to deny their release by ordering

  an appropriate and individualized bond hearing or to terminate removal proceedings. In

  support of this petition and complaint for declaratory and injunctive relief, petitioners

  allege as follows:

                                        CUSTODY



                                                                                         1
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  1.     Jose Manuel Rosales Rodriquez, Petitioner, is now in the custody of the DHS.

   Petitioner is being held without bond and without any opportunity for a hearing in front

  of an immigration judge.

  2.     Immigration officials arrived at Petitioner’s house on July 30, 2008 and placed

  him under arrest. These officials stated that Petitioner was being arrested and would

  be deported because of a previous deportation order. Petitioner has not been provided

  any documentation explaining the charges, allegations, or any other information

  relating to his arrest, detention, and threatened immediate deportation.



                     "ARISING UNDER" JURISDICTION AND VENUE



  3.     This action arises under the Constitution of the United States, the Immigration

  and Nationality Act (INA), 8 USC §1101 et seq., and the Administrative Procedure Act

  (“APA”), 5 USC §701 et seq. This Court has jurisdiction under 28 USC §2241(c)(1) and

  (3), art I. §9, cl. 2 of the United States Constitution (“Suspension Clause”), and 28 USC

  §1331. The custody suffered by Petitioner is in violation of the Constitution, laws, or

  treaties of the United States. See e.g., Henderson v. Reno, 157 F.3d 106, 122 (2d Cir.

  1998), cert. denied sub. nom. Reno v. Navas, 119 S. Ct. 1141 (1999). This Court may

  grant relief pursuant to 28 USC §2241, the APA, the Declaratory Judgment Act, 28

  USC §2201 et. seq., and the All Writs Act, 28 USC §1651.




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  4.     Venue lies in the United States District Court for the District of Colorado, where

  Petitioners have been detained, and where their proceedings have been held, which is

  also the District in which DHS District Director resides.



                                          PARTIES

  5.     Petitioner is born in and therefore a native and citizen of Mexico. Respondents

  took Petitioner into custody on July 30, 2008 and Petitioner is still in the direct control

  of the Respondents and they have detained them without providing his release in

  accordance with a reasonable bond hearing.

  6.     Respondent MICHAEL CHERTOFF is the Director of the DHS. He is responsible

  for the administration of the DHS and the implementation and enforcement of the

  Immigration and Nationality Act (INA). As such, he is also a custodian of Petitioners,

  since by the acts of the DHS; the color of authority for the immediate removal of the

  Petitioner from the jurisdiction of Colorado criminal courts, and previous actions of DHS

  agents interfering with the "constructive custody" of criminal defendants on bail in this

  jurisdiction, he is responsible for the "mandatory", unconstitutional and illegal detention

  of the Petitioner.

  7.     Respondent PETER KEISLER is the Attorney General of the United States and

  is responsible for the administration of the Immigration and Naturalization Service and

  the implementation and enforcement of the Immigration and Naturalization Act. As

  such, he has ultimate custodial authority over Petitioners.



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  8.     Respondent KEVIN D. ROONEY is the director of the Executive Office of

  Immigration Review and is responsible for the enforcement and implementation of the

  Immigration and Naturalization Act.



                               EXHAUSTION OF REMEDIES



  9.     Petitioner has exhausted his administrative remedies to the extent required by

  law, and his only remedy is by way of this judicial action. The Petitioner and many

  more individuals in situations similar to the Petitioner are losing their liberties and

  protection under the law each day the Respondents continue these policies and are

  unable to assist in their own defense, or to work at their occupations to assist in the

  costs associated with their defenses.



  10.       There is no specific statutory requirement for exhaustion in this case;

  therefore this Court is limited only by its policies of judicial discretion. See Tan v INS,

  14 F. Supp.2nd 1184, (pg. 1189). By this detention Petitioner is refused his rights to

  due process. By this wrongful detention Petitioner is placed in such an undefended

  and precarious situation that further delays will work his situation to such an extreme

  and irreversible hardship, that there is an emergency, and the damage complained of is

  so involved with federal and immigration laws that no alternative remedies would be

  effective, such that this Court might require no further proofs of exhaustion. See Howell


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  v. INS, 72 F.3rd 288. The three part test of McCarthy v. Madigan 503 U.S. 140, 112

  S.Ct. 1081, can be sufficient to avoid exhaustion especially under the "heightened,

  substantive due process scrutiny" powers of the U.S. District Court for actions involving

  civil rights violations.

  11.        Exhaustion is not required where “(1) available remedies provide no genuine

  opportunity for adequate relief; (2) irreparable injury may occur without immediate

  judicial relief; (3) administrative appeal would be futile; and (4) in certain instances a

  plaintiff has raised a substantial constitutional question.” Howell v. INS, 72 F.3d 288,

  291 (2d. Cir. 1995). See also, McCarthy v. Madigan, 503 U.S. 140 at 146 (exhaustion

  may be excused if “the interest of the individual in retaining prompt access to a federal

  judicial forum [outweighs] countervailing institutional interests favoring exhaustion”).



                                  STATEMENT OF FACTS



  12.    Petitioner was advised by government officials that he would receive adjustment

  of status, or consulate processing for Legal Permanent Residence status if he accepted

  an offered voluntary departure – Petitioner was, at the time of his departure, married to

  a Citizen under Colorado law and had a pending application from his mother that

  provided § 245 (i) Life Act from the 1996 legislation.

  13     His entry without inspection could have been cured before an Immigration Judge

  and legal permanent residency was possible for the Petitioner, but for the advice of the


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  government officials at the (legacy) INS Detention facilities, Aurora Colorado. As a

  result of the fraud or misrepresentation upon the Petitioner, he has lost all opportunity

  to seek adjustment before the Immigration court, is subject to “reinstatement of

  removal,” is made a criminal under reentry statutes if he returns from his country of

  origin to visit or seek employment to provide for his family, and is subjected to

  substantial loss of rights and liberties including his “banishment for Life” currently

  sentenced upon him by ICE, without review.

  14.    Petitioner has various sources of relief which would in a proper hearing, allow

  him to obtain residency documents from the DHS. Petitioner's family is not wealthy,

  they have limited resources derived from, and completely dependent upon their

  occupations. Petitioner and his family are substantially injured and impoverished by his

  incarceration, their defense against their criminal charges and the additional

  Immigration litigation that will arise as a result.

  15.    The Respondents have detained Petitioner, one assumes, under some

  construction of §236(c) of the Immigration and Nationality Act, 8 USC §1226(c), or

  under the blanket application of a no release for any prior removed immigrant,

  without consideration of the effects of Supreme Court rulings such as St. Cyr and

  Lopez (infra), policy. The petitioner may be entitled to relief from removal under

  existing INA laws. It is unreasonable to assume that he would be a flight risk, when

  there is some likelihood that Petitioner will retain, or receive legal permanent resident

  or some other status.



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  16.    Petitioner was arrested in 1999 for auto theft in Colorado. Upon information and

  belief the family asserts that he has never been convicted for the 1999 arrest. As a

  result, at that time petitioner received voluntary departure from the United States.

  Petitioner was deported again in September of 2007 as a reinstatement based on his

  voluntary departure in 1999.

  17.    Petitioner has established his life here in the United States. He has a United

  States Citizen wife. Petitioner also has three United States Citizen Children, all who

  were born in the United States. The determination by USICE to remove Petitioner

  without a hearing will create a tremendous hardship for the Petitioner’s family.



                                  LEGAL BACKGROUND



  18.    Petitioner was advised by government officials that he would receive adjustment

  of status, or consulate processing for Legal Permanent Residence status if he accepted

  an offered voluntary departure – Petitioner was, at the time of his departure, married to

  a Citizen under Colorado law and had a pending application from his mother that

  provided § 245 (i) Life Act from the 1996 legislation.

  19.    His entry without inspection could have been cured before an Immigration Judge

  and legal permanent residency was possible for the Petitioner, but for the advice of the

  government officials at the (legacy) INS Detention facilities, Aurora Colorado. As a

  result of the fraud or misrepresentation upon the Petitioner, he has lost all opportunity



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  to seek adjustment before the Immigration court, is subject to “reinstatement of

  removal,” is made a criminal under reentry statutes if he returns from his country of

  origin to visit or seek employment to provide for his family, and is subjected to

  substantial loss of rights and liberties including his “banishment for Life” currently

  sentenced upon him by ICE, without review.

  20.    Petitioner is in custody pursuant to INA §236(c), 8 USC 1226(c), which

  mandates his detention without providing an opportunity to demonstrate that he is not a

  danger or a flight risk or in the alternative, under the blanket application of a no release

  for aliens who have a previous deportation order for all Immigrants under color of law,

  subject to DHS review, rule as applied by Respondents.

  21.    “The writ of habeas corpus was developed over the history of common law to

  protect every person from being detained, restrained, or confined by any branch or

  agency of the government” 28 USCA § 2241; USCA Constitution Article 1 section 9

  Skaggs v. Larson, 90 S. Court. 5, 396 U.S. 1206, 24 L.Ed. 2d 28. It was considered

  the only effective means of controlling government excesses against the liberty of the

  person by our Patriot forefathers and thus received a special position in the body of the

  Constitution. “The writ of habeas corpus must be administered with initiative and

  flexibility essential to ensure that miscarriages of justice within its reach are surfaced

  and corrected” U.S. Constitution, Article one, § 9, Harris v. Nelson, 89 Supreme Court

  1082, 394 U.S. 286, 22 Lawyers Ed. 2nd 281. Wherein, the Court also stated, “the

  purpose of the writ of habeas corpus is to provide a prompt and efficacious remedy for


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  whatever society deems to be intolerable restraints. Prior to the enactment of the REAL

  ID Act, these claims were reviewable by a district court through a habeas corpus

  petition. The new law provides that district courts “shall” transfer pending habeas

  corpus petitions (or the part of the case challenging a final removal, deportation or

  exclusion order) to the court of appeals in which a petition for review could have been

  filed (i.e. the circuit having jurisdiction over the place where the Immigration Court

  completed proceedings). Therefore the Tenth Circuit has all of the powers formerly

  relegated to the Habeas court, including the All Writs Act, should the District Court

  determine that the caselaw requires automatic conversion to a Petition for Review.

  22.   In Beijani V. Ins, 2001, FED App. 0401P (6th Cir.), the Sixth Circuit ruled that

  the issue of the temporal reach of a statute, such as the retroactivity of the

  reinstatement provisions of IIRAIRA, was not an area where it was required to grant

  deference, because the DHS has no special expertise in this area. Addressing the

  issue for itself, the court found that Congress clearly intended for the reinstatement

  provision to apply only to reentries after it became effective. The provision that was

  replaced had retroactive language that was not retained in the new version, even

  though Congress had explicitly considered doing so.           This, combined with the

  presumption that unless Congress specifies that a law is to be applied retroactively, the

  law is to be applied only prospectively, led the court to rule that the new reinstatement

  law could not be applied to cases where the reentry occurred before the effective date

  of the reinstatement law. Therefore, the court ruled, Bejjani’s previous deportation



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   order could not be reinstated. See also Castro-Cortez v. INS, 239 F3d 1037. In this

   case the original removal order was in 1991, the later reentries were legal admissions,

   the Petitioner assumed forgiveness of the prior removal, had no notice of any attempt

   to pursue the prior removal and in fact suggests that the government is barred by

   laches. His legal entry could not in fact have occurred but for a permission or pardon of

   the Attorney General and the Government should not be allowed to deny it.

   23.    The Petitioner, is held by the Respondents, specifically the DHS, under the

   mandatory detention statutes of the INA, and without the opportunity to bail out of his

   incarceration and is held without an appropriate, individualized bond hearing, in which

   it may be demonstrated that he is neither a danger, nor flight risk. He has no effective

   remedy before the DHS, or the BIA, since these administrative bodies have shown

   themselves to have predetermined the issue regarding mandatory detention and

   reinstatement of removal.

   24.    Petitioner is being denied an opportunity to present a defense to deportation as

   DHS is preparing to remove him based solely on the deportation order that was entered

   in 1991. DHS appears to be ignoring or disregarding completely any re-admission and

   inspection at the border as well as denying any relief based on changed circumstances

   or Petitioner's family situation.

   25.    Judicial review should be presumed by this Court see McNary v. Haitian

   Refugee Center, Inc., 498 U.S. 479, 496 (1991) (there is a “well-settled presumption

   favoring interpretations of statutes that allow judicial review of administrative



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   decisions”); Abbott Laboratories v. Gardner, 387 U.S. 136, 141 (1967) (“clear and

   convincing evidence of contrary legislative intent” required to displace presumptive

   judicial review where immediate injury inflicted). If Congress wishes to remove habeas

   corpus review, it must provide a plain statement saying so. See Sandoval v. Reno,

   166 F.3d 215, 232 (3d Cir., Jan. 26, 1999) (the court states, following Felker v. Turpin,

   518 U.S. 651 (1996), Ex Parte Yerger, 75 U.S. 85 (1869) and Ex Parte McCardle, 74

   U.S. (7 Wall.) 506 (1868), that “only a plain statement of congressional intent to remove

   a particular statutory grant of [habeas] jurisdiction will suffice.”). See also,

   Farquharson v. INS, 31 F. Supp. 2d 403, 410 (D.N.J. 1999) ( “if Congress wished to

   repeal traditional habeas jurisdiction under Section 2241, it must have done so

   expressly.”). “The Privilege of the Writ of Habeas Corpus shall not be suspended,

   unless when in Cases of Rebellion or Invasion the public Safety may require it.” U.S.

   Const. art. I. §9, cl. 2.

   26.    As a person residing in the United States as a lawful permanent resident,

   Petitioner is protected by every clause of the United States Constitution that is not

   expressly reserved to its citizens. This protection includes the Due Process Clause of

   the Fifth Amendment, which provides that “[n]o person shall be . . . deprived of life,

   liberty, or property, without due process of law,” U.S. CONST. amend. Fifth.see, Plyler

   v. Doe, 457 U.S. 202, 210 (1987); Mathews v. Diaz, 426 U.S. 67 (1976); Yamataya v.

   Fisher, 189 U.S. 86 (1903).




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   27.    “Freedom from bodily restraint has always been at the core of the liberty

   protected by the Due Process Clause from arbitrary governmental action.” Foucha v.

   Louisiana, 504 U.S. 71, 80 (1992). This vital liberty interest is at stake when an

   individual is subject to detention by the DHS. St. John v. McElroy, 917 F. Supp. 243,

   250 (S.D.N.Y. 1996) (“[T]he private interest affected is St. John’s liberty interest, which

   is of the highest constitutional import.”); Leader v. Blackman, 744 F. Supp. 500, 509

   (S.D.N.Y. 1990); see also Doherty v. Thornburgh, 943 F. 2d 204, 208 (2d Cir. 1991)

   (finding that even aliens unlawfully present in the U.S. have a “substantive due process

   right to liberty during deportation proceedings”), cert. dismissed, Doherty v. Barr, 503

   U.S. 901 (1992).

   28.    Substantive due process requires that detention authorized for non-punitive

   purposes not be “excessive in relation to the regulatory goal Congress sought to

   achieve.” United States v. Salerno, 481 U.S. 739, 747 (1987). In this case Petitioner is

   being detained and denied an opportunity to defend himself based on a deportation

   that has already been ordered. Petitioner has served the five year bar ordered by the

   judge and has been readmitted to the United States as a Legal Permanent Resident.

   29.    The language of INA § 242 (b) 9 does not preclude habeas corpus jurisdiction in

   the District Court over detention issues, Barr v. Holmes, 73 F. Supp. 2nd., 44, M.D.

   Pa. (1999).

   30.    Since taking effect on October 9, 1998, section 236(c) has been the object of

   renewed challenges. Three district courts have held that section 236(c) suffers from the



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   same constitutional     defects as previous mandatory detention statutes, and,

   consequently, have struck it down as a violation of due process. Van Eeton v. Beebe,

   CV 99-16-PA (D.Or. Apr. 13, 1999); Nguyen v. Beebe, CV 99-340-HU (D.Or. Apr. 13,

   1999); Martinez v. Greene, 28 F. Supp. 2d 1275 (D. Colo. 1998).



                                 FIRST CLAIM FOR RELIEF

     AS A RESULT OF THE ADMISSION IN 1997 PETITIONER HOLDS STATUS AS A

         LEGAL PERMANENT RESIDENT AND CANNOT BE REMOVED WITHOUT

                                     JUDICIAL PROCESS



   31.    Petitioner realleges and incorporates by reference each and every allegation

   contained in the paragraphs 1 through 28 as if set forth fully herein.

   32.    DHS and Respondents are illegally detaining Petitioners either because they

   misapply INA §236(c) to Petitioner because DHS is attempting to reinstate a

   deportation that no longer has effect and no longer would apply to Petitioner. This

   purpose is not sufficient to outweigh the Petitioner’s rights to due process and equal

   protection; therefore, since respondents have not afforded Petitioner an appropriate

   and meaningful bail hearing, this Petitioner needs the order of this Court to protect his

   individual liberties by denying the reinstatement of the now illegal removal, provide a

   bond hearing and other proper procedures in immigration court or termination of the

   proceedings and the reinstatement of his legal status as an LPR.



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   33.    Federal law recognizes that deportation as a result of criminal conviction is the

   “equivalent of punishment,” Fong Haw Tan v. Phelan, 333 U.S. 6 (1947) the “loss of

   property or life or all that makes life worthwhile,” Ng Fung Ho v. White, 259 U.S. 276

   (1992). Banishing an immigrant forever, away from home and family, never to return, is

   a consequence that should be avoided, “a sentence to a life in exile.” Jordan v.

   DeGeorge, 341 U.S. 223 (1951). This would be “exile, a dreadful punishment,” Klonis

   v. Davis, 13 F.2d 630, 630-631 (2d Cir. 1926). The Supreme Court has never wavered

   from the core principle that "aliens who have once passed through our gates, even

   illegally, may be expelled only after proceedings conforming to traditional standards of

   fairness encompassed in due process of law." Shaughnessy v. United States ex rel.

   Mezei, 345 U.S. 206, 212(1953). See also Getachew v. INS, 25 F.3d 841, 845 (9th

   Cir.1994).

   34.    Petitioner maintains that the reinstatement procedures of 8 C.F.R. §214.8 violate

   due process by failing to provide for basic minimal safeguards. In particular, the

   reinstatement procedures violate due process because (1) there is no meaningful

   opportunity to review the prior deportation file and respond; (2) consequently, there is

   no opportunity to create a record adequate for judicial review; (3) there is no

   opportunity to obtain the advice and assistance of counsel;4) the decision to reinstate

   is not made by a neutral judge; and (5) a person subject to reinstatement is not notified

   of the right to judicial review.




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   35.   When the Petitioner reentered the United States after remaining in Mexico for

   over five years the then INS agent at the border reviewed his case on the computers

   and determined, while in secondary inspection, first that the LPR “green card” was valid

   and should not be taken from the Petitioner; and secondly that it was appropriate to

   allow the Petitioner entry into the United States. Thereafter, Petitioner can establish

   that he left and reentered the United States many times.         Upon none of those

   occasions was he detained or treated in any manner as not having a legal basis for

   reentry. Petitioner’s last entry was with inspection and he was not at that time treated

   as an immigrant seeking admission. This status is a special status found to require in

   all Courts a higher level of Due Process than is required for immigrants seeking

   admission. Now USICE seeks to revoke that status of the Petitioner in a way that

   denies and ignores the regulations and laws of the INA. If the DHS seeks a revocation,

   or intends to make a finding that a revocation has occurred then there is stare decisis

   in a number of Circuits to the effect that the “humanitarian exception” must be

   considered, and the government must establish some form of hearing involving due

   process reflecting their decision on the required humanitarian exception consideration

   before they may invoke a revocation of Petitioner’s status.                See, Clara

   Sanchez-Trujillo v. INS, 632 F. Supp. 1546 (District of N. Carolina, April 21, 1986),

   and Estate of Wing Hing Tow v. INS, 1990 U.S. Dist. LEXIS 16043, Case no.

   C901644 (ND Cal. 1990). An applicant is entitled to rebut the evidence of adverse

   information 8 C.F.R. §103.2(b)(16) (1988) and that evidence must be made part of the



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   record, Matter of Pradieu, 19 I&N Dec. 419 (BIA 1986) specifically on point, since it

   reversed where the IJ’s denial and the evidence therefore were not in the record; see

   also Matter of Cuello, 20 I&N Dec. 94 (BIA 1989) and Matter of Soriano, 19 I&N Dec.

   764 (BIA 1988).

   36.   Further, the meaning of the word “admitted,” as used initially, in the phrase

   “has previously been admitted,” is specified in section 101(a)(13)(A) of the Act, 8

   U.S.C. 1101(a)(13)(A) (Supp. II 1996), as “the lawful entry of the alien into the United

   States.” The word “lawful” has a plain meaning that we are bound to apply in

   interpreting the meaning of the word “admitted” in §212(h), Chevron, U.S.A., Inc. v.

   Natural Resources Defense Council, Inc., 467 U.S. 837, 842-43 (1984); K Mart

   Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988) (emphasizing that a proper

   determination of the plain meaning of the statute must include examination of “the

   particular statutory language at issue, as well as the language and design of the statute

   as a whole”).

   37.   The terminology “admitted,” as used in “has previously been admitted,”

   contemplates a lawful admission in essence, not merely one that may appear to have

   been legal in form, Pioneer Inv. Services Co. v. Brunswick Assocs. Ltd.

   Partnership, 507 U.S. 380, 388 (1993) (stating that words that are used in statutes are

   meant to carry “their ordinary, contemporary, common meaning”(quoting Perrin v.

   United States, 444 U.S. 37, 42 (1979));see also INS v. Phinpathya, 464 U.S. 183, 189

   (1984).



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   38.
   U.S.C. The
          § 1326,
              actions
                  the reasoning
                      of the DHSof in
                                    those
                                      this cases
                                           case are
                                                 apply
                                                    flawed
                                                       equally
                                                           since
                                                               to government’s
                                                                   they are violative
                                                                                attempts
                                                                                      of the
                                                                                          to

   agency’s
   use a priorown
               unlawful
                   regulations
                        order forand
                                  reinstatement
                                      the Constitution’s
                                                under § 1231(a)(5).
                                                         notions of due process. On the

   elements
   39.   "Nonecessary
             matter what
                      forthe
                           most
                             evidence
                                circuitswas
                                         to establish
                                            against [the
                                                      grounds
                                                         accused],
                                                              for aheReinstatement
                                                                      had the right to
                                                                                    of

   have an impartial
   Removal,          judge."
            for instance,    Tumeyv.v.Heinauer,
                          in Lopez     Ohio, 273332
                                                 U.S.F.3d
                                                       510,507,
                                                            535,(8th
                                                                  47 Cir.
                                                                     S.Ct.  437 (1927).
                                                                          2003),        In
                                                                                 the Court

   particular, the
   held that the   judge hasprovide
                 regulations  the obligation  to "hold
                                    that an alien       the to
                                                  is subject balance nice,
                                                               automatic    clean and true
                                                                         reinstatement of a

   between  the State
   prior removal orderand the
                       upon   accused." Id. at
                            a determination    532.
                                            that theThe  failure
                                                     1) alien hastobeen
                                                                    provide a neutral
                                                                         subject       and
                                                                                 to a prior

   impartial judge
   deportation     "denies
                order,      thealien
                       2) the   latterisdue process
                                         correctly   of law." as
                                                   identified  See
                                                                 analso In who
                                                                    alien  Re Garcia-Rubio,
                                                                               was removed

   703 F.Supp.
   under a prior859, 862and
                 order,  (S.D.
                            3) Cal.
                               the 1989)  (“The administrative
                                    alien unlawfully reentered procedures provided
                                                               the United States    by the
                                                                                 after his

   INS, such8 as
   removal.   CFRan§241.8(a)(2001).
                    interview with an
                                    TheINS  officer fail
                                         elements    . . to
                                                         . simply  do anot
                                                            establish      afford the same
                                                                        reinstatement since

   protections as has
   the Petitioner  a judicial hearing or
                       only reentered    trial. INS
                                       legally!  Due officers
                                                      processcannot be characterized
                                                              precludes              as
                                                                        a prior unlawful

   'judicial officers'
   deportation         nor are they
                  (or removal)      likely
                                 order fromto being
                                              be neutral”);
                                                    used as NLRB  v. Tamper,
                                                              a predicate for Inc., 522 F.2d
                                                                               a subsequent

   781, 789-90 “Inofview
   reinstatement      thatoforder–at
                             what is inevitably
                                     least whereandthe
                                                     personally at stake,
                                                       prior order  could then, it issubjected
                                                                           not be     undeniable
                                                                                               to

   that deportation
   judicial         punishes
            review due  to thethestatute
                                   alien and punishes
                                         precluding   her review
                                                    such   severely.
                                                                  or . the
                                                                       . . To maintain,was
                                                                            individual  as

   classical
   preventedimmigration law consistently
              from obtaining    judicial has done, for
                                          review    that deportation
                                                         some otherresembles
                                                                      reason. a U.S.
                                                                                sanction
                                                                                       v.

   like being ejected from
   Mendoza-Lopez,          a national
                      481 U.S.        park rather
                                828 (1987);       than v.
                                             Mendez    that of being
                                                          INS,       banished
                                                                563 F.2d 956, or
                                                                              959sentenced
                                                                                   (9th Cir.

   to jail, suggests
   1977)(bar         that something
                to review           deeplyorder
                           of deportation  symbolic, not dryly
                                                did not  applylogical,
                                                                becausehasdeportation
                                                                           been at work in
                                                                                      was

   the shaping defective
   procedurally of the doctrine.
                         and thusInunlawful);
                                    condoning   the deportationv.ofINS,
                                              Estrada-Rosales        the 645
                                                                          alien  without
                                                                              F.2d        the
                                                                                    819, 822

   safeguards   that government
   (9th Cir. 1981)(ordering       must ordinarily
                            that petitioner         afford before
                                            be “readmitted”        it can States
                                                            to the United  impose  grave
                                                                                 because

   punishment . . . the law order
   basis for deportation     affirmswas
                                      the unlawful).
                                           contingent Though
                                                       nature ofMendoza-Lopez
                                                                 her claims on and
                                                                               the

   community. . . . Thearose
   Estrada-Rosales       government’s obligations
                             in the context       to the alien for
                                             of prosecutions    are illegal
                                                                     viewedre-entry
                                                                            as resting upon
                                                                                    under 8

   her formal status rather than upon her actual relationship to the society. Since under



                                                                                              17
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   the classical order the alien’s entry was conceived of as a privilege whose continued

   enjoyment was conditional upon her compliance with the formal terms that the

   government prescribed, deportation was simply the revocation of her license, a

   reversion to the status quo ante. No special procedural safeguards for this reversion

   were thought to be necessary.” Peter H. Schuck, The Transformation of Immigration

   Law, 84 COLUM. L. REV. 1, 27 (1984). Here the Government wishes to use procedural

   deportation processes to avoid any hearing that would entail the constitutional issues

   of; 1) procedural safeguards for legally admitted LPRs, 2) to avoid the St Cyr pre ‘97

   conviction, procedural safeguards that would extend a “reopening “ of the prior deport

   to the Petitioner as a matter of right; and 3) avoid the Lopez rule that prior state

   convictions for possession have no federal analogue on which to base INA

   deportations.

   40.   The U.S. Constitution and "due process of law" embodied in the Fifth

   Amendment, "demands the law not be unreasonable, arbitrary or capricious and that

   the means selected shall have a reasonable and substantial relation to the object being

   sought" U.S. v. Smith, D. C. Iowa, 249 F.Supp. 515, 516. Reinstatement in this case

   looks like a cynical avoidance of the decisions and authority of the U.S. Supreme Court

   and has no valid balance against the due process rights of this Petitioner.



                                   PRAYER FOR RELIEF




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   WHEREFORE, Petitioner prays that this Honorable Court grant the following relief:



         (1)    Grant the writ of habeas corpus;

         (2)    Issue an order enjoining Respondents from removing this Petitioner from

                the jurisdiction while this Court retains jurisdiction and from applying this

                "no release", and “reinstatement” policy to Petitioner, thereby ordering

                them to conduct a prompt and individualized custody hearing in which it is

                not reasonable to assume that every person for which the DHS has an

                interest is a flight risk or immediately deportable; and which applies the

                appropriate standards of law to the assessments of that court of the least

                amount of money necessary to obtain the criminal defendant’s return to

                that court for trial;

         (3)    In the alternative, to treat this writ as a petition for review and grant review

                of the determinations made by the DHS with respect to removal of this

                Petitioner; barring removal of Petitioner or should it become necessary,

                as this court has the power under the All Writs Act to order the DHS to

                provide a temporary parole, as provided by the INA for any appearances

                for Court in the United States, even if necessary to a petitioner at the

                consulate in Ciudad Juarez, Mexico, so that he may appear before this

                court to give evidence of his disagreement with the prior deportation, and

                give evidence of his entitlement under the laws United States and the INA



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                to adjust status to a legal permanent resident or otherwise reestablish his

                rightful status as an LPR.

         (4)    Grant any other and further relief, including, where necessary, strike

                those provisions of DHS statutory authority which conflict with the

                constitutional protections afforded all persons, and if appropriate, award

                to Petitioners reasonable costs and attorneys’ fees including attorney's

                fees in compliance with the Equal Access to Justice Act, 28 U.S.C. § 2412

                (b); and such other action which this Honorable Court deems just and

                proper.



         WHEREFORE, Petitioner prays that a Writ of Habeas Corpus shall be issued,

   directed to the Respondents, requiring them to show cause why these Petitioners

   should not be discharged from the restraint of liberty now imposed on them by the

   Respondents.



                                             VERIFICATION


         John Elliott Reardon, under penalty of perjury, states that he is an Attorney for

   the Petitioner in the foregoing Petition for a Writ of Habeas Corpus, and he affirms the

   truth of the contents thereof upon information and belief, and he believes same to be

   true, and he further states that the sources of his information and belief are statements

   and documents provided to him by the Petitioner and the Petitioner’s family.


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   Dated:


   Friday, August 15, 2008

                                           Respectfully submitted,

                                           _/s/ John E. Reardon_______________
                                           John Elliott Reardon, CO. # 007801
                                           826 Grand Ave., Glenwood Springs,
                                           Colorado, 81601
                                           (970) 928-7303




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